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              IN THE UNITED STATES DISTRICT COURT
    FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION




    ALEX MORGAN, et al.,
                    Plaintiffs,               Case No. 2:19-CV-01717

           v.


    UNITED STATES SOCCER
    FEDERATION, INC.,


                    Defendant.




                EXPERT REPORT OF JUSTIN MCCRARY, PH.D.

                                     March 6, 2020
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  1. ASSIGNMENT AND SUMMARY OF OPINIONS


  1.1. Assignment

    I have been asked by counsel for Defendant to review the damage calculation
  of Dr. Finnie Cook, and assess the following questions:

     •   Does Dr. Cook’s damage analysis reliably isolate differences in relevant
         compensation terms in the WNT and MNT CBAs that can be attributed
         to the alleged discrimination separately from differences attributed to
         other non-discriminatory, economic factors?
     •   What economic factors that differ between the WNT CBAs and the MNT
         CBA does Dr. Cook’s damage calculation not account for?
     •   Once relevant economic factors are accounted for, is there an
         unexplained difference in relevant compensation terms between the
         WNT CBAs and the MNT CBA, for a given level of performance?


  1.2. Summary of opinions

     As I explained in my initial report, the WNT and MNT CBAs are qualitatively
  different from one another. Compared to the MNT CBA, the CBAs for the WNT
  have a variety of different terms and provide more guaranteed compensation
  and less performance compensation on some dimensions. The two teams’ CBAs
  are thus not directly comparable without accounting for those differences.

     In this report, I turn to the question of damages. As I detail herein, any
  damages analysis seeking to isolate any effect of the alleged discrimination on
  pay, like Dr. Cook’s, must account for differences in the CBAs that are driven by
  non-discriminatory, economic factors. A feature of Dr. Cook’s analysis is that
  there is a clear articulation of but-for compensation—she assumes that each
  WNT player is paid under the terms of the MNT CBA. Unfortunately, her
  approach neglects to consider non-discriminatory factors that can explain
  differences in terms between the CBAs. Quantitatively, the leading factor that is
  neglected in Dr. Cook’s analysis is the higher prize money the USSF receives if
  the MNT wins relevant tournaments. While this is not the only difference in the
  CBAs Dr. Cook ignores, as I detail in this report, Dr. Cook’s failure to account
  for prize money differences by itself renders her damages calculation
  unreliable.


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     I begin my analysis in Section 2, when I explain that Dr. Cook calculates
  damages by assuming that any differences between the terms in the WNT CBAs
  and MNT CBA are due to discrimination. 1 Dr. Cook does not provide any
  analysis of whether other economic factors can explain the differences in terms
  between the WNT and MNT CBAs. As I explain in Section 2, accounting for
  non-discriminatory differences is a methodological requirement. This point is
  widely recognized in the academic literature that analyzes gender pay gaps. In
  this report, I highlight several non-discriminatory economic factors that Dr.
  Cook ignores, including revenue as noted above. Revenue is sufficiently
  important that accounting for it shows that the WNT is paid more than the
  MNT for a given level of performance, rather than less.

     In Section 3, I substantiate my assertion above that, at a given level of
  performance, the WNT generates less revenue for the USSF than does the MNT.
  For the World Cup, a win by the MNT would generate almost 10 times more
  prize revenue than a win by the WNT. The World Cup is a quantitatively
  important example because over 90% of Dr. Cook’s damages come from the
  differences in World Cup compensation terms across the teams’ CBAs.

      •   As I explain in Section 3.1, a fundamental principle in labor economics
          is that compensation for workers is affected by the incremental revenue
          that the worker generates for their firm. As I show in Section 3.1, this
          concept applies to the CBAs at issue in this case.
      •   Revenue and compensation are tied, not just in theory, but also in
          practice. To substantiate this point, we can compare across men’s
          tournaments. Such comparisons are not about gender, by construction,
          but they are instructive about the effect on compensation of USSF
          revenue, since some tournaments pay more than others. If the MNT wins
          the World Cup, the USSF receives prize revenue of $38 million, and if
          the MNT wins the Confederations Cup, the USSF receives $4.1 million.
          This corresponds to performance bonuses for the MNT of $31.7 million
          and $3.2 million, respectively. This simple example underscores that
          differences in performance bonuses ought not to be immediately
          attributed to discrimination. They may relate to non-discriminatory

  1 Expert Report of Finnie B. Cook, Ph.D., February 4, 2020 (“Cook Report”), ¶ 7 (“In the event that claimed

  violations of the Equal Pay Act and Title VII are found by the jury, I have determined the backpay damages
  suffered by the classes by comparing what each class member would have earned if she had been compensated at
  the same rate as a male professional soccer player under the U.S. Men’s’ National Team’s (‘USMNT’) collective
  bargaining agreement (‘CBA’) in effect during the class periods against what her actual earnings as a female
  professional soccer player on the U.S. Women’s National Team (‘USWNT’) were during these periods.”).



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          factors that differ between men and women. I described this concept in
          my initial report. 2

     In Section 3.2, I return to comparisons between the WNT and the MNT. I
  show that differences in performance bonuses between the MNT and WNT
  CBAs for the key tournaments that drive all of Dr. Cook “damages” can be
  explained by differences in the prize money and, thus, the revenue generated
  for USSF. When one looks at performance bonuses as a fraction of the prize
  money paid to USSF for a given level of performance, the WNT performance
  bonuses actually pay out a higher fraction of the incremental prize revenue
  generated.

      •   As I discuss above, Dr. Cook assumes that gender differences in World
          Cup bonus payments are a result of discrimination. This single
          assumption applied to both the 2015 and 2019 Women’s World
          Cup generates $58 million (or 91%) of her total claimed
          backpay damages of $64 million. However, as I explain in Section
          3.2.1, Dr. Cook’s analyses ignore a clear, non-discriminatory economic
          reason for the difference in bonus payments: FIFA sets different bonus
          payments for the different World Cup tournaments. Specifically, in 2018,
          FIFA would have paid $38 million to the USSF had the MNT won the
          Men’s World Cup and, in 2019, did pay $4 million to the USSF for the
          WNT victory. 3
      •   To account for differences in revenue generated for a given level of
          World Cup performance, I examine the WNT and MNT bonuses for each
          World Cup in the relevant period as a fraction of the prize money USSF
          receives from FIFA (Section 3.2.1). I find that the WNT CBAs actually
          pay out a higher fraction of the prize money than the MNT CBA does.
          For example, the 2017–2021 WNT CBA provides a higher payment
          relative to the FIFA prize for the 2019 Women’s World Cup (104%) than




  2 Expert Report of Justin McCrary, Ph.D., February 4, 2020 (“McCrary Report”), fn. 45 (“Another factor that can

  influence the magnitude of bonus payments in a performance contract is how much revenue is generated when
  the worker meets relevant performance thresholds. In the analyses in this report, I abstract away from this
  consideration for simplicity. However, to the extent that revenue generated for USSF by MNT and WNT when
  each team meets their respective performance thresholds in their respective CBAs (e.g. wins friendlies, wins
  tournaments) differs, such differences could also explain differences in the bonus payments in the CBAs.”).
  3 FIFA Council confirms contributions for FIFA World Cup participants, accessible at

  https://www.fifa.com/who-we-are/news/fifa-council-confirms-contributions-for-fifa-world-cup-participants-
  2917806; USSF_Morgan_007841 – 2.



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          the MNT CBA would have provided if the MNT had won the 2018 Men’s
          World Cup (83%). 4
      •   The Confederations Cup provides another illustration of the idea that
          USSF revenue drives performance bonuses in the teams’ CBAs. The 2017
          Confederations Cup (a men’s tournament) has prize money that is
          comparable to the 2019 Women’s World Cup—$4.1 million for the MNT
          versus $4 million for the WNT. For the Confederations Cup, the MNT
          CBA provides for a maximum performance bonus that is smaller than
          the bonus in the WNT CBA ($3.2 million versus $4.1 million, or 78% for
          the men and 104% for the women). This is, of course, the opposite of
          what would hold, were the USSF to be engaged in discrimination against
          women.
      •   In Section 3.2.2 I show that a similar pattern holds when I analyze
          prize money for non-World Cup tournaments. For example, Dr. Cook
          assumes the WNT should get the same bonuses for winning non-World
          Cup tournaments that the MNT would get. However, as I show below
          there are large differences between these tournaments in prize money
          paid to USSF ($3.9 million on average for MNT and $0 for WNT).
      •   In Section 3.2.3, I then discuss how, on all other payment terms
          besides the World Cup and non-World Cup tournament performance
          bonuses, Dr. Cook’s analysis finds negative damages. Specifically, Dr.
          Cook’s analysis finds that the WNT CBAs paid the women more ($18.8
          million) across all components of non-tournament pay than the MNT
          CBA would have paid them ($14.8 million) for the same level of
          performance. This finding confirms the finding in my initial report that
          the fixed payments in the WNT CBAs absent from the MNT CBA (e.g.,
          salary) more than offset the higher game bonuses for friendlies.
      •   Finally, in Section 3.3, I show that the same pattern holds for actual
          pay. That is, the WNT received a higher ratio of the revenue their games
          generated as compensation (27%) than the MNT did (24%) during the
          class period. I also find that including sources of revenue not directly
          attributable to a specific team or game does not change this finding.

    In Section 4, I highlight another important difference between the two
  teams’ CBAs that Dr. Cook does not account for. As explained in my initial
  report, the CBAs for the WNT and MNT have fundamentally different terms

  4 2011–2018 MNT CBA, USSF_Morgan_000530 – 78 at 72 – 73; 2017–2021 WNT CBA, USSF_Morgan_000587

  – 642 at 642.


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  pertaining to risk-reward tradeoffs. The WNT CBAs include fixed payments that
  provide insurance value to players who do not perform as expected, whereas the
  MNT CBA does not. Dr. Cook does not in any way account for this additional
  value of the WNT CBAs.

     •   As I show in Section 4, one way to see the insurance value provided by
         the WNT contract is to examine how MNT players would have been
         compensated under the current WNT CBA since its inception. As I
         show below, using Dr. Cook’s own methodology, a player
         who performed as the MNT did since 2017 would have made
         more money under the WNT CBA than under the MNT
         contract. This result occurs because the MNT did not achieve certain
         performance thresholds in recent years (e.g., did not qualify for the 2018
         World Cup) and, thus, the insurance aspect of the WNT CBA (e.g.,
         salary) would have provided them protection from lower bonuses.
     •   This result shows that a CBA with higher bonuses does not always
         generate higher total compensation than a CBA that has lower bonuses
         plus a fixed salary. The relative value of the CBAs depends on
         performance, and the salary (and other benefits) in the WNT CBAs
         provide insurance value not present in the MNT CBA.
     •   This analysis also highlights the fundamental inability of Dr. Cook’s
         methodology to isolate the causal effect of alleged discrimination. Under
         Dr. Cook’s method, any differences in pay between the two teams’ CBAs
         reflect “discrimination.” Applying Dr. Cook’s logic to my calculation, one
         would conclude that the USSF discriminates against the MNT and the
         WNT at the same time.




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2. METHODOLOGY AND OVERVIEW OF DR. COOK’S CALCULATION


2.1. Methodology for assessing gap in pay caused by gender

   There is a large body of academic literature that analyzes differences in pay
between men and women across a variety of different occupations and
industries. A central question in that literature is whether differences in pay
between men and women can be explained by differences in observable, non-
discriminatory, economic factors (hours worked, different choices in
occupations, different levels of experience, etc.) or whether they potentially
reflect factors like discrimination. Indeed, in my first report, I highlighted a
variety of differences between the two teams’ CBAs at issue in this case that
need to be accounted for to assess whether the WNT CBAs systematically pay
players less than the MNT CBA does for a given level of performance.

   In the academic literature, this question is referred to frequently as the
“causation” question. When one observes average differences in pay between
two groups of people (e.g., men and women), it is important to analyze whether
that difference is caused by gender or if it instead is caused by other factors. As
one textbook in labor economics describes, comparing differences in pay
between men and women without accounting for other factors is “unappealing
because it is comparing apples and oranges. Many factors, other than
discrimination, generate wage differentials between men and women.” 5 In
other words, assessing discrimination requires measuring differences in pay
between workers who are comparable along all other dimensions that affect
their earnings. A widely-cited paper in the academic literature on gender wage
gaps summarizes this methodological concept as follows:

        In U.S. labor markets women earn substantially less than men do.
        Hundreds of studies investigate this phenomenon, seeking to infer the
        extent to which the gender wage gap is the consequence of disparate
        treatment by employers. The statistical exercise is one of comparison; at
        issue is the difference between the wages women receive and those
        earned by males who are otherwise comparable in terms of relevant
        characteristics (that is, men with similar levels of human capital). The
        standard means of drawing such comparisons, used in nearly every
        paper on the topic, is linear regression; the idea is to “control” for factors
        that reflect differences in preferences and human capital between men

5 Borjas, G., Labor Economics, 7th Edition, McGraw-Hill Education, New York, NY, 2016, at p. 382.




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         and women. Gender wage differentials that remain after such
         adjustments are often taken as evidence of labor market discrimination. 6

     This concept is also widely recognized by courts when analyzing questions
of discrimination in litigation. The mere existence of average differences in pay
between two groups is not sufficient to infer the existence of discrimination
because the difference in pay may reflect legitimate differences between the two
groups. The Federal Judicial Center’s Reference Manual on Scientific Evidence
(a document designed to aid Federal Judges in assessing scientific evidence)
lays out these principles as follows, using age discrimination as an example.

         A correlation between two variables does not imply that one event causes
         the second. Therefore, in making causal inferences, it is important to
         avoid spurious correlation. Spurious correlation arises when two
         variables are closely related but bear no causal relationship because they
         are both caused by a third, unexamined variable. For example, there
         might be a negative correlation between the age of certain skilled
         employees of a computer company and their salaries. One should not
         conclude from this correlation that the employer has necessarily
         discriminated against the employees because of their age. A third,
         unexamined variable, such as the level of the employees’ technological
         skills, could explain differences in productivity and, consequently,
         differences in salary. 7

   More generally, it is recognized that when attempting to measure economic
damages, one must isolate the effect of the challenged conduct separately from
other factors unrelated to the challenged conduct. For example, the Reference
Manual on Scientific Evidence notes the following:

         [A] proper construction of the but-for scenario and measurement of the
         hypothetical but-for plaintiff’s value by definition includes in damages
         only the loss caused by the harmful act. 8 [emphasis added]




6 Dan A. Black, Amelia M. Haviland, Seth G. Sanders, and Lowell J. Taylor, “Gender Wage Disparities among the

Highly Educated,” The Journal of Human Resources 43, no. 3 (2008): 630–659.
7 Rubinfeld, D. L., “Reference Guide on Multiple Regression,” in Reference Manual on Scientific Evidence, 3rd

Edition, The National Academies Press, Washington, DC, 2011, at p. 309.
8 Allen, M. et al., “Reference Guide on Estimation of Economic Damages,” in Reference Manual on Scientific

Evidence, 3rd Edition, The National Academies Press, Washington, DC, 2011, at p. 432.


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2.2. Overview of Dr. Cook’s damages calculation

    As I detail in the remainder of this report, Dr. Cook’s analysis does not
consider this fundamental methodological question of causality. Dr. Cook’s
damages analysis simply assumes that any differences in pay between the MNT
CBA and the WNT CBAs for a given level of performance reflect discrimination.
Indeed, the way that she arrives at her damages estimate is (1) to take the
actual performance of each WNT player in the class, (2) calculate the pay of
that performance under the MNT CBA to generate each player’s pay “but-for”
the alleged discrimination (i.e., “but-for” pay), and (3) then compare that but-
for pay to what the player actually earned under the WNT CBAs. She then
assumes any differences between but-for and actual pay reflect damages.

    Exhibit 1 displays a breakdown of Dr. Cook’s calculation of alleged damages
for the Title VII class period by the different types of games and payment terms
she analyzes. I group games based on Dr. Cook’s own categorization of each
game in the but-for world (i.e., if Dr. Cook assumes a WNT game is paid as a
tournament game or a friendly in the but-for world, I categorize the game in the
same way). As is clear, over 90% of the damages that Dr. Cook
calculates is associated with the World Cup ($58.2 million of the total
$63.8 million of alleged damages). An additional $9.5 million of Dr. Cook’s
damage calculation is related to differences in performance bonuses between
the MNT CBA and the WNT CBAs for other, non-World Cup tournament pay. 9
Wages and benefits paid to WNT players more than offsets the alleged damages
that Dr. Cook associated with the remaining friendly matches by $4 million,
which Dr. Cook nets out of her damage calculation to arrive at her final
calculation of $63.8 million.




9 In an alternative calculation, Dr. Cook assigns friendly pay terms from the MNT CBA to the WNT non-World

Cup tournament games. In this calculation, the World Cup is responsible for $58.2 million of the $60.7 million
(96%) of alleged backpay damages over the Title VII class period. Cook Report, Schedule 16.


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EXHIBIT 1
Dr. Cook’s damages calculation broken down by game type: April 6, 2014 – December 31, 2019




Source: Cook Report, Appendix A, Appendix B, Appendix E, Schedule 7; USSF_Morgan_070835
Note:
[1] "Wages Game Play" (code A) and "Wages Tournament Bonus" (code B) from Appendix E were added according to Dr. Cook’s
game categorization in Appendix B to calculate "Pay based on MNT CBA."
[2] "Game Play Bonus" (code F1) and "Tournament Bonus" (code F2) from Appendix E were added according to the following
paydate categorization to calculate "Actual pay": Women's World Cup (6/15/2015, 7/15/2015, 6/14/2019, 8/15/2019); Women's
World Cup qualifiers (10/31/2014, 10/31/2018).
[3] "Game Play Bonus" (code F1) and "Tournament Bonus" (code F2) from Appendix E were added according to the following
paydate categorization to calculate "Actual pay": Olympic games (07/29/2016); Olympic qualifiers (2/29/2016); Friendly
tournaments (12/31/2014, 3/13/2015, 3/31/2015, 3/15/2016, 3/15/2017, 8/15/2017, 3/15/2018, 8/15/2018, 3/15/2019).
[4] "Actual pay" is the remainder "Game Play Bonus" (code F1) from Appendix E. Includes payments from the World Cup victory
tour, which correspond to the following paydates in Dr. Cook's Appendix E: 10/30/2015, 12/31/2015, 8/30/2019, 9/13/2019, and
10/15/2019.
[5] "Actual pay" includes "All Forms of Actual Wages Exclusive of Bonuses" (codes E1, ... , E9) from Appendix E plus "All forms of
Benefits not included in Wages" (code J) from Appendix E plus "Appearances + CBA Signing Bonus" from Schedule 7 . The amount
of "Actual pay" attributable to "All forms of Benefits not included in Wages" is $155,554.



    Dr. Cook’s finding that the WNT CBAs pay more than the MNT CBA across
friendly bonuses, salary, and benefits is notable because it confirms the findings
in my first report. As Exhibit 1 shows, the friendly game bonuses paid to the
WNT would have been about $8 million higher according to the MNT CBA.
However, the salary and other benefits of the WNT CBAs more than offset the
lower friendly bonuses. 10 The WNT was paid nearly $12 million in salary and
benefits, compared to $0 for the men. In other words, Dr. Cook’s own
calculations demonstrate that the combination of fixed payments (salary,
benefits) and lower bonuses for friendly games in the WNT CBAs pay the WNT
more than they would have been paid for non-tournament games under the




10 Dr. Cook does not include salaries that the USSF pays to WNT players allocated to National Women’s Soccer

League teams in actual pay. Dr. Cook also does not include payments to the WNT Players Association (“WNTPA”)
other than Victory Tour payments. Inclusion of these payments would reduce damages further. 2013–2016 WNT
MOU, WNTPA_00004575 – 83 at 81, 83; 2017–2021 WNT CBA, USSF_Morgan_000587 – 642 at 629–632,
642.



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MNT CBA structure of higher friendly bonuses and no fixed payments. 11

   An implication of the pattern in Exhibit 1 is that all of Dr. Cook’s damages
come from differences in bonus payments from the World Cup and non-World
Cup tournaments. As I detail in Section 3, the damages that Dr. Cook finds on
those dimensions can be explained by the differences in the incremental
revenue (i.e., prize money) that the USSF receives for MNT tournaments versus
WNT tournaments. Dr. Cook ignores this factor in her analysis.




11 Exhibit 1 focuses on Dr. Cook’s calculations of the Title VII damages period. I have also analyzed the Dr. Cook’s

damages for the EPA collective periods. For the Willful EPA class period, Dr. Cook calculates $33 million in
damages from tournament pay, as well as $4.2 million from friendly games, which is more than offset by the $7.8
million paid in wages and benefits to the WNT. For the Non-Willful EPA class period, Dr. Cook calculates $32
million in damages from tournament pay, as well as $2.5 million from friendly games, which is more than offset
by the $6.5 million paid in wages and benefits to the WNT. See workpaper 1.


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3. DIFFERENCES IN WNT AND MNT CBA PROVISIONS ARE DUE TO REVENUE

    In this section, I show that differences in prize money paid to USSF (i.e.,
revenue generation) across different tournaments are an important, non-
discriminatory, economic factor that Dr. Cook ignores that can explain
differences in the size of performance bonuses across the WNT and MNT CBAs.
As I detail in Section 4, the differences in prize money are not the only
differences between the two CBAs at issue in this case. However, as I show in
this section, accounting for just differences in prize money between the relevant
MNT and WNT tournaments can explain all of Dr. Cook’s alleged “damages.”

    I begin my analysis in Section 3.1, where I show that tournaments that
generate larger prize revenue for the USSF tend to have larger bonus payments
for the players in the CBA. This is true even if one focuses just on the MNT’s
CBA—i.e., men receive higher bonus payments for success in tournaments that
generate larger prize revenue for the USSF. This is consistent with standard
economic principles of performance contracts, which predict that performance
bonuses should be tied to revenue generation. This also demonstrates that
differences in tournament prize money provide an alternative explanation for
differences in tournament performance bonuses.

    In Section 3.2, I then show that the differences in the size of the
performance bonuses between the MNT and WNT CBAs that drive all of Dr.
Cook’s damages can also be explained by differences in prize money across the
MNT’s and WNT’s tournaments. As noted above, Dr. Cook does not in any way
account for this factor in her damages calculation. She simply assumes that any
difference between what the WNT and MNT CBAs pay in performance bonuses
is caused by the alleged discrimination. 12 As I show below, revenue generation
is an alternative explanation that Dr. Cook has not considered or analyzed.




12 Cook Report, ¶ 7 (“In the event that claimed violations of the Equal Pay Act (‘EPA’) and Title VII are found by

the jury, I have determined the backpay damages suffered by the classes by comparing what each class member
would have earned if she had been compensated at the same rate as the male professional soccer player under the
U.S. Men’s National Team’s (‘USMNT’) collective bargaining agreement (‘CBA’).”).


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3.1. Performance bonuses and revenue generation

    A fundamental idea in labor economics is that compensation is tied to the
incremental revenue that a worker’s performance generates for her employer,
particularly in high skill occupations where performance can have a large
impact on revenues. Indeed, this economic principle is central to the economics
of performance contracts that I detailed in my initial report.

    As I explained in that report, one of the fundamental reasons firms use
performance contracts is to create incentives for workers to engage in activities
that generate more revenue for the firm. 13 In other words, the goal of
performance contracts is to link the compensation of workers to the revenue
and/or profits of the firm. For example, one textbook I cited to in my first
report notes the following about performance contracts:

         Examples of performance-based incentives are everywhere. Salespeople
         at department stores like Nordstrom and Bergdorf Goodman are paid
         using sales commissions, where they receive a fixed percentage of the
         revenue their sales generate for the firm. Brand managers at consumer
         packaged-goods firms like Kraft or Procter & Gamble typically receive
         year-end bonuses that are linked to the profit generated by their brands.
         Firms typically grant stock and stock options to chief executive officers;
         this links CEO wealth to the return that shareholders earn. 14

   These economic principles are relevant to the CBA terms at issue in this
case. Specifically, a review of the two teams’ CBAs shows that the size of
performance bonuses for key tournaments correspond to the incremental
revenue generation (i.e., prize money) for USSF.

    Exhibit 2 demonstrates this point by comparing different men’s events per
the MNT CBA. Specifically, I compare (a) the total prize revenue generated for
the USSF (blue bars) to (b) the performance bonus that USSF pays to the MNT
(orange bars) for winning five different men’s tournaments. As is clear, the
magnitude of the performance bonuses differs substantially and corresponds
with the differences in total prize money for winning the tournaments. For
example, the Gold Cup generates approximately $1 million for USSF if the MNT
wins, while the most recent World Cup would have generated $38 million for

13 McCrary Report, § 2.1.

14 Besanko, D., et al., Economics of Strategy, 5th Edition, John Wiley & Sons, Inc., Hoboken, NJ, 2010, at p. 82.




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USSF if the MNT had won.

    These large differences in bonus payments cannot be attributed to
discrimination because they occur within the MNT CBA. Revenue generation is
one legitimate economic factor that helps explain differences in performance
bonuses in the CBAs in a manner unrelated to gender. 15

EXHIBIT 2
Performance bonuses are higher for tournaments with higher prize money




Source: 2011–2018 MNT CBA, USSF_Morgan_000530 – 78; USSF_Morgan_007836 – 9; USSF_Morgan_042341 – 2;
USSF_Morgan_042343 – 4; USSF_Morgan_042345 – 6; USSF_Morgan_081431 – 5
Note: Maximum total payment includes qualification, roster, first round points, second round, quarterfinal, and semifinal bonuses
when applicable. The calculation assumes a roster size of 23 players.
[1] The prize revenue is $1,016,667, the average of the 1st place prize for the 2015, 2017, and 2019 edition. Gold Cup per game fee
assumes five matches against teams not in the FIFA ranking top 25 and not Mexico, and one match against a team in the FIFA
ranking top 25 or Mexico.



    One can also compare prize revenue and bonus payments across time for
the same women’s tournament. In 2015, FIFA set the prize for winning the
Women’s World Cup at $2 million, and the MOU that covered the 2015
Women’s World Cup provided a maximum of $2.4 million for winning
(including qualification, roster, and victory bonuses, excluding player pay for
the victory tour). 16 FIFA then raised the prize for winning the Women’s World
Cup to $4 million for the 2019 tournament, and the CBA that took effect in 2017

15 This is not to say that revenue is the sole determinate of pay or the only factor that drives differences across the

CBAs at issue. In Section 4, I discuss other differences between the CBAs at issue.
16 USSF_Morgan_007840; 2013–2016 WNT MOU, WNTPA_00004575 – 83 at 83.




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increased the World Cup bonus payments to players to a maximum of $4.1
million (including qualification, roster, and victory bonuses, excluding player
pay for the victory tour). 17 In other words, for both men and women, there is
evidence that bonus payments are higher when revenue generation is higher.

    Documents from the CBA negotiations also show that revenue generation
was a factor in the negotiations over CBA terms. For example, at a June 27,
2016 WNT CBA meeting, a USSF representative stated, “Revenue, attendance
and TV have to be taken into account. Bonuses are directly related to market
realities.” 18 At that same meeting, the WNTPA representative responded,
“Women brought in $20m more than the men.” 19 In a later meeting, a WNTPA
representative stated, “We want a CBA where the compensation changes with
the times. Compensation should be based on a revenue share.” 20

    Indeed, the current WNT CBA contains parameters explicitly linking
revenue to pay. For example, a provision in the current WNT CBA states that if
the WNT participates in any “new International tournaments” where there is an
opportunity for the USSF to generate revenue, the parties will discuss the bonus
structure. 21 Other examples from the current WNT contract include increased
compensation to WNT players or the WNTPA in the event that that “SUM gross
revenue exceeds certain targets,” or FIFA increases the World Cup prize
money. 22

   These types of features of the CBAs and negotiations indicate that both sides
understand the importance of pay relative to revenue generated, and that
revenue generated affects performance bonuses independent of gender.




17 USSF_Morgan_007841 – 2; 2017–2021 WNT CBA, USSF_Morgan_000587 – 642 at 642.

18 USSF_Morgan_005638 – 777 at 654.

19 USSF_Morgan_005638 – 777 at 655.

20 USSF_Morgan_005638 – 777 at 676.

21 2017–2021 WNT CBA, USSF_Morgan_000587 – 642 at 611 (“New tournament bonuses. If the WNT begins

participating in any new International tournaments during the term of this Agreement in which there is an
opportunity for the Federation to generate revenue, the Parties shall meet in good faith to discuss a
bonus structure for those tournament(s).”) (emphasis added).
22 2017–2021 WNT CBA, USSF_Morgan_000587 – 642 at 629 (describing that if SUM gross revenue exceeds

certain targets for 2017–2018 and 2019–2021, USSF would pay the WNTPA 10% of the gross revenue in excess of
the targets); 632 (“FIFA Prize Money. If the prize money paid by FIFA for 1st, 2nd, or 3rd place in the FIFA
Women’s World Cup is increased during the term of this Agreement, the Federation shall pay to the Players 10%
of the incremental increase for such prize money the Federation receives from FIFA provided that such prize
money received by the Federation exceeds the bonus the Federation has already agreed to pay. In no event shall
the sum of the World Cup bonus payable to the Players for placing in the World Cup and the incremental share of
prize money paid pursuant to this section fall below 60% of the FIFA prize money paid to the Federation.”).


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3.2. Dr. Cook ignores differences in revenue generation in her damages
calculation

    Dr. Cook’s analysis does not attempt to account for differences in prize
money across different tournaments in any way. Below, I examine the damages
that Dr. Cook finds broken out by the three types of games she analyzes—World
Cup games, non-World Cup tournament games, and friendly games. As I show
below, the differences in payment terms that underlie Dr. Cook’s “damages”
come entirely from World Cup and non-World Cup tournament games and can
be explained by differences in potential revenue (i.e., prize money) generated
across MNT and WNT tournaments.


3.2.1. Differences in World Cup bonuses reflect differences in prize revenue generated

    I start with an analysis of the World Cup payments. Dr. Cook calculates that
$58 million of the $64 million of alleged damages are due to discrepancies in
the potential payments to the WNT and the MNT according to each team’s CBA,
should they win their respective World Cup. 23

    A critical economic factor to account for when analyzing differences in
World Cup bonuses is that the prize money the USSF receives when the WNT or
the MNT performs well differs greatly between the Men’s and Women’s World
Cups. For example, the 2018 Men’s World Cup prize money totaled $400
million across all participating teams, with the winning federation collecting
$38 million from FIFA. 24 The total prize money pool associated with the 2019
Women’s World Cup was $30 million, with the winning federation collecting $4
million from FIFA. 25

    Exhibit 3 compares the prize money paid by FIFA to the USSF if the WNT or
the MNT win the World Cup to the performance bonuses paid by USSF to the
WNT and the MNT according to their CBAs for winning the World Cup. As is
clear, the difference in World Cup bonus payments are affected by differences
in the prize money paid by FIFA. In fact, if we compare the fraction of the prize
money received by the USSF from FIFA that is paid out to the WNT and the
MNT, we see that the WNT receives a higher percentage of the prize for winning
23 See Exhibit 1.

24 FIFA Council confirms contributions for FIFA World Cup participants, accessible at

https://www.fifa.com/about-fifa/who-we-are/news/fifa-council-confirms-contributions-for-fifa-world-cup-
participants-2917806.
25 USSF_Morgan_007841 – 42 at 42.




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the World Cup relative to the MNT. Specifically, the WNT CBAs paid the WNT
119% of the FIFA prize for winning the Women’s World Cup in 2015 and 104%
in 2019. 26 The MNT CBA would have paid the MNT a maximum of 72% of the
FIFA prize for winning the Men’s World Cup in 2014 and 83% in 2018. 27

EXHIBIT 3
Revenue and payments associated with World Cup victories




Source: 2011–2018 MNT CBA, USSF_Morgan_000530 – 78; 2017–2021 WNT CBA, USSF_Morgan_000587 – 642; 2013–2016
WNT MOU, WNTPA_00004575 – 83; USSF_Morgan_007836 — 39; USSF_Morgan_007840; USSF_Morgan_007841 – 42; FIFA
Council confirms contributions for FIFA World Cup participants, accessible at https://www.fifa.com/about-fifa/who-we-
are/news/fifa-council-confirms-contributions-for-fifa-world-cup-participants-2917806
Note: Maximum total payment from competition includes qualification, roster, first round points, second round, quarterfinal, and
semifinal bonuses when applicable. Women's World Cup does not include Victory Tours. The calculation assumes a roster size of 23
players for the Men's World Cup.



    In her damages calculation, Dr. Cook does not even consider the difference
in prize money between the Men’s and Women’s World Cup shown in Exhibit 3.
She calculates that USSF should have paid the WNT players approximately
$31.7 million for the 2019 Women’s World Cup, more than seven times the
prize money FIFA paid the USSF for the WNT winning the 2019 Women’s
World Cup. 28 For the 2015 Women’s World Cup, Dr. Cook calculates that the
26 The WNT CBAs pay a maximum of $2,370,000 for the 2015 Women’s World Cup and $4,142,500 for 2019

Women’s World Cup, excluding Victory Tour payments. See backup to Exhibit 3; 2013–2016 WNT MOU,
WNTPA_00004575 – 83 at 83; 2017–2021 WNT CBA, USSF_Morgan_000587 – 642 at 642.
27 The MNT CBA pays a maximum of $25,325,500 for the 2014 men’s World Cup and $31,656,875 for the 2018

men’s World Cup. See backup to Exhibit 3; 2011–2018 MNT CBA, USSF_Morgan_000530 – 78 at 72–73.
28 Dr. Cook reports $30,550,000 in alleged but-for wages associated with the 2019 Women’s World Cup not

including per game fees paid to players. See Cook Report, ¶¶ 43–44. Per game fees are $6,875 per game for 23



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WNT should have been paid approximately $30.7 million, over 15 times the
prize money FIFA paid the USSF. Dr. Cook assumes this difference is due to
discrimination.

    Exhibit 4 presents a different way to see the flaw in Dr. Cook’s World Cup
analysis. Exhibit 4 compares the prize money and bonus payments from the
2017 Confederations Cup to the Women’s World Cup side by side. As shown,
winning these two tournaments generates comparable amounts of revenue for
USSF. Specifically, winning the 2017 Confederations Cup generates $4.1 million
in prize revenue and winning the Women’s World Cup generates $4 million in
prize revenue.

EXHIBIT 4
The WNT receives more compensation than the MNT for tournaments that generate similar
revenue




Source: 2011–2018 MNT CBA, USSF_Morgan_000530 – 78; 2017–2021 WNT CBA, USSF_Morgan_000587 – 642;
USSF_Morgan_007841 – 42; USD 20 million in prize money for FIFA Confederations Cup, accessible at
https://www.fifa.com/confederationscup/news/y=2016/m=11/news=usd-20-million-in-prize-money-for-fifa-confederations-cup-
teams-2855001.html
Note: Maximum total payment includes qualification, roster, first round points, second round, quarterfinal, and semifinal bonuses
when applicable. Women's World Cup does not include Victory Tours. The calculation assumes a roster size of 23 players for the
Confederations Cup.




players over seven games, totaling $1,106,875. Adding the per game fees to the $30,550,000 results in the same
$31.7 million. 2011–2018 MNT CBA, USSF_Morgan_000530 – 78 at 72–73.


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    However, the CBA sets a performance bonus that is 25% higher for the
women ($3.2 million to $4 million). In other words, if we compare bonus
payments for the 2019 Women’s World Cup to bonuses from a MNT
tournament that generates comparable revenue, the WNT World Cup bonus is
higher. This pattern helps show that the differences in performance bonuses
between the Men’s and Women’s World Cup that Dr. Cook attributes to the
alleged discrimination are actually driven by differences in prize revenue
generation.


3.2.2. Non-World Cup tournament performance bonuses also reflect differences in prize money

    Dr. Cook’s main analysis of non-World Cup tournaments has the same flaw.
As with the World Cup, the prize money for non-World Cup tournaments
played by the WNT and the MNT differ. Dr. Cook ignores this fact and treats
differences in the size of performance bonuses between the MNT and WNT
CBAs for winning non-World Cup tournaments as discrimination. 29
Specifically, for the three types of non-World Cup tournaments that Dr. Cook
says the WNT plays in—friendly tournaments (e.g., the She Believes Cup), the
Olympic Qualifying tournament, and the Olympics—Dr. Cook assumes that
women should be paid performance bonuses that align with the average of
MNT bonuses for the Gold Cup, Confederations Cup, and Copa America.

    However, these two sets of tournaments are not comparable. For example,
the average prize money for winning the three relevant men’s tournaments is
$3.9 million and the average performance bonus paid to the men if they win
those tournaments is $2.6 million. 30 For the relevant women’s tournaments,
there is no prize revenue for the USSF and the average performance bonus for
winning is $858,000. 31 Yet, in her main damages calculation, Dr. Cook assumes
29 In an alternative calculation, Dr. Cook acknowledges that FIFA does not recognize friendly tournaments that

the WNT participates in as official tournaments. Her alternative calculation treats these as friendly matches.
Cook Report, ¶ 41 (“Counsel has informed me that USSF has taken the position in this litigation that there is a
difference between the tournaments in which the USMNT plays and the tournaments in which the USWNT plays
because FIFA has not recognized them as official tournaments. Therefore, as a test of reasonableness of my
damage analysis assumptions, I have prepared an alternative calculation that assigns compensation for all
USWNT tournaments, except for the World Cup, based on the compensation rate for friendly games as outlined
in the USMNT CBA.”).
30 The tournaments included in the average calculation are the Gold Cup, 2016 Copa America, and 2017

Confederations Cup. See workpaper 2 for calculations. 2011–2018 MNT CBA, USSF_Morgan_000530 – 78;
USSF_Morgan_070834; USSF_Morgan_042341 – 2; USSF_Morgan_042343 – 4; USSF_Morgan_042345 – 6;
USSF_Morgan_081431 – 5; USD 20 million in prize money for FIFA Confederations Cup, accessible at
https://www.fifa.com/confederationscup/news/.
31 The tournaments included in the average calculation are the 2017 She Believes Cup, 2016 Olympic qualifying

tournament, and 2016 Olympic Games. See workpaper 2 for calculations. 2017–2021 WNT CBA,
USSF_Morgan_000587 – 642; USSF_Morgan_070835.



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that the WNT would have been paid the average bonus of the MNT
tournaments instead of the WNT bonuses. At a minimum, Dr. Cook should
have considered the large differences in prize money when assuming the
differences in performance bonuses reflect “damages.” 32

    If we look at the bonus payment per dollar of prize money from these
tournaments (as we did with the World Cup), we again see that the WNT again
receives higher pay than the MNT. The men receive just 67% of the prize
revenue generated ($2.6 million out of $3.9 million) if they win, while the
women receive performance bonuses for winning despite zero dollars in prize
revenue.


3.2.3. Compensation for friendly matches, salary, and other benefits

    Other than the World Cup and non-World Cup tournament performance
bonuses, the other remaining sources of pay that Dr. Cook analyzes are (1)
performance payments for friendly games, (2) the fixed payments for salary and
benefits, and (3) several other smaller payments detailed in the CBAs. 33 As
shown above in Exhibit 1, Dr. Cook finds no damages on these dimensions of
pay. In fact, she finds that the actual pay to the WNT across these dimensions is
higher than the pay they would have received under the MNT. Specifically,
Exhibit 1 above shows that, according to Dr. Cook, the WNT team players were
actually paid $18.8 million under the terms of the WNT across these
dimensions of pay. Dr. Cook then finds that those same players would have
earned only $14.8 million had they been compensated according to the MNT
CBA. 34

     This finding from Dr. Cook demonstrates the tradeoff between salary and

32 These tournaments also differ on other dimensions that make them not comparable. For example, the MNT

CBA does not provide for any payments to male players who compete in the men’s Olympic Qualifying
tournament and the Olympics regardless of their performance. 2011–2018 MNT CBA, USSF_Morgan_000530 –
78. The WNT friendly tournaments are smaller than MNT tournaments, typically consisting of four teams who
play three games each that are compensated as friendly matches under the WNT CBAs, with the exception that
some friendly tournaments pay a $5,000 tournament victory bonus per player. 2017–2021 WNT CBA,
USSF_Morgan_000587 – 642 at 642.
33 Dr. Cook also considers the signing bonus in the 2017–2021 WNT CBA as a source of player pay. Dr. Cook does

not consider the signing bonus contained to the MNT CBA because it was paid to the MNT Players Association,
not directly to the players. Dr. Cook nets the WNT signing bonus out of her damages calculation. Cook Report, ¶¶
61–65. I do not conduct any further analysis with respect to signing bonuses.
34 These figures include payments related to the Women’s World Cup victory tour friendly matches because Dr.

Cook treats them as friendly games in the but-for world. Dr. Cook’s analysis finds small negative damages on just
the victory tour friendly matches because the WNT CBA bonuses for these games are actually higher than MNT
CBA bonuses for friendlies. See backup to Exhibit 1.



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higher bonuses I detailed in my first report. While the MNT CBA offers higher
bonuses for friendly games, it includes no salary and no benefits. As a result,
the combined pay of friendly bonuses, salary, and benefits can actually lead to
higher pay per game for the WNT than the combination of higher bonuses with
no salary under the MNT CBA for a given level of performance. 35


3.3. Actual pay per unit of revenue is also higher for the WNT

    In this section, I present another way to assess whether the differences in
the CBA terms that Dr. Cook assumes represent “damages” can be explained by
differences in revenue. Specifically, I assess whether actual pay for the WNT
was higher as a fraction of actual revenue generated than for the MNT. I find
that it is. This is unsurprising, given my analysis in Section 3.2. If the WNT
CBAs pay more per unit of revenue generated than the MNT CBA does for the
same performance, then one would expect to see the same pattern in actual pay
(which is based on different levels of performance). As I show below, it does.


3.3.1. Actual pay as a fraction of revenue

    Exhibit 5 presents a comparison of actual pay and actual revenue between
the MNT and WNT team over the class period. The analysis focuses on
revenues that can be directly allocated to each team’s events—e.g., prize
monies, ticket sales, and other direct revenues from the games. As Exhibit 5
shows, the WNT players received a total of $25,382,761 for their performance
across all 102 tournament and friendly matches ($248,851 per game) during
the Title VII class period, while the MNT players received $17,607,740 over 82
games ($214,729 per game) during the same period. 36 Over the same period,
the WNT matches generated $93,603,518 in direct revenue over 102 games
($917,682 per game) while the MNT matches generated $72,443,690 in direct
revenue over 82 games ($883,460 per game). 37

    The revenue and pay numbers, thus, indicate that the WNT received 27% of
the revenue their matches generated, while the MNT received 24% of the

35 As I showed in my first report, the pay advantage of the WNT CBA terms is larger when the WNT plays fewer

friendly games in a given year because the value of the salary per game increases in that circumstance. Given that
Dr. Cook categorizes approximately 12 games a year on average as friendlies in her damages analysis, she finds
that the WNT friendly bonuses plus the WNT salary pay more than the MNT friendly bonuses. See, for example,
Exhibits 1 and 2 from my first report, which compare sixteen games to eight games; Cook Report, Appendix A.
36 Supplemental Expert Report of Carlyn Irwin, March 6, 2020, (“Irwin Supplemental Report”), Exhibit 9.A.

37 Irwin Supplemental Report, Exhibit 4.A.




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revenue their matches generated. 38 For comparison’s sake, in her report, Dr.
Cook estimates that but-for the alleged gender discrimination, the WNT would
have been paid $91.8 million since April 6, 2014. 39 These wages would have
accounted for 88% of the $104.5 million total revenues generated by WNT
matches from January 1, 2014 through December 31, 2019, 40 which is more
than 3.5 times the fraction MNT receive.

EXHIBIT 5
Total payments to and revenue generated by MNT and WNT: June 11, 2015 – December 31,
2019




Source: Irwin Supplemental Report, Exhibit 4.A; Irwin Supplemental Report, Exhibit 9.A
Note: Includes matches and revenue generated between May 29, 2015 and December 31, 2019, and payments to players between
June 11, 2015 and December 31, 2019. Total payments to players exclude per diem, monies paid to the respective players
associations other than the payment made to the WNT Players Association for the 2015 Victory Tour, and payments to WNT
members associated with their play for clubs in the NWSL.



    It is notable in Exhibit 5 that the actual revenue generated by the WNT for
USSF is higher than the actual revenue generated by the MNT during the class
period. This pattern reflects the comparative performance of the MNT and the
WNT during this period. That is, even though the MNT generates more revenue
per game for a given level of performance, once we account for differences in
performance, the WNT generates more revenue (e.g., the WNT won the World
Cup in 2015 and 2019 and the MNT did not qualify in 2018). Importantly,
however, Exhibit 5 still shows that the share of revenue that is paid out to each
team is higher for the WNT than for the MNT. This captures the fact (discussed
in Section 3 above) that the bonus terms in the WNT CBAs are, on average,
more favorable than the bonus terms in the MNT CBA per unit of revenue
generated.




38 I conservatively do not include revenues associated with the men’s 2016 Copa America tournament in this

analysis. Including these revenues would increase revenue generated by MNT events, and reduce pay per game to
the MNT as a fraction of revenue generated by their events.
39 Cook Report, ¶ 38.

40 Expert Report of Carlyn Irwin, February 4, 2020 (“Irwin Report”), Exhibit 6; Irwin Supplemental Report,

Exhibit 4.A. See workpaper 3.


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3.3.2. Other sources of revenue for the USSF generated by national teams

    The foregoing analysis focuses on incremental revenues generated for USSF
that can be directly tied to each team’s games. As explained above, this includes
prize money paid to USSF, as well as other revenue generated from games (e.g.,
ticket revenue, payments received from other federations for playing away
games). The CBA negotiation documents indicate that there have also been
negotiations between the USSF and the WNTPA regarding compensation
related to revenues from Soccer United Marketing (“SUM”) and Nike. 41 A
relevant question is whether any differences in CBA terms might be explained
by revenues from these sources.

   In order to assess that question, one would need a method to attribute the
SUM and Nike revenues to each of the WNT and MNT reliably. I consider two
ways to attribute this revenue below based on available evidence.

    •   First, evidence in the record from collective bargaining negotiations
        shows that in 2017 the WNTPA proposed that the WNT players receive
        compensation as a fraction of certain revenues, including revenue from
        Nike and SUM, at which point the WNTPA proposed that 27% of this
        revenue be attributed to the WNT, explaining that this was based on a
        3:1 ratio in favor of the MNT, based on the MNT’s higher television
        ratings. 42 If 27% of these revenues were attributed to the WNT and 73%
        to the MNT, the WNT compensation would have been 17.14% of their
        revenue and the MNT compensation would have been just 8.01% of their
        revenue. 43
    •   Even if I were to conservatively attribute these additional revenues
        evenly between the WNT and the MNT (50% to each), the compensation
        that the WNT received per unit of revenue generated is still higher
        (13.05% of their revenue) than the MNT (10.16% of their revenue). 44



41 The USSF earned a total of $201,817,097 in revenue stemming from sponsorship, television, licensing, and

royalties between April 1, 2015, and March 31, 2019. Of this total, approximately $107,250,000 was from SUM
and approximately $93,528,000 was from Nike. USSF_Morgan_000321 – 46 at 29–30, 37–39;
USSF_Morgan_042076 – 96 at 81–82, 87–88.
42 The WNTPA proposed that they would receive compensation equal to the greater of a fixed salary and bonus

structure similar to the WNT’s current compensation structure and 35% of WNT Sharable Revenue (“WSR”), of
which a component was 27% of all SUM and Nike marketing revenue. WNTPA_00000456 – 64 at 56–59. The
27% ratio was based on the ratio of MNT to WNT television ratings, which was roughly 3:1 in favor of the MNT at
the time. USSF_Morgan_005638 – 777 at 676, 702.
43 See workpaper 4.

44 See workpaper 4.




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4. DR. COOK ALSO IGNORES DIFFERENT TRADEOFFS OF RISK VERSUS
REWARD BETWEEN THE TWO TEAMS’ CBAS

    Another important difference between the two teams’ CBAs that Dr. Cook
does not account for in her analysis is differences in the risk versus reward
profile. In my initial report, I conducted a review of the terms of the relevant
CBAs and concluded that (a) the CBAs include many components of pay,
including fixed pay and variable performance pay, (b) those components differ
between the WNT CBAs and the MNT CBA, and (c) the WNT CBAs have more
fixed payments and the MNT CBA has more bonus payments. These features of
the two teams’ contracts imply that the CBAs have different levels of risk and,
thus, different levels of potential value to different players depending on
performance outcomes.

    To illustrate these concepts, in my initial report I presented several specific
scenarios of performance where the WNT generated higher pay per game than
the MNT. For example, I showed that the total compensation per game for
friendly matches for the WNT under the current WNT CBA (including salary)
can sometimes be higher than under the MNT CBA. 45 Additionally, I
highlighted the fact that the fixed payments in the WNT CBAs provide
insurance for players who do not appear in matches due to injury, coach’s
decision, or otherwise.

     As detailed above, Dr. Cook’s own calculations confirm the findings of my
first report. Dr. Cook finds that the combination of lower bonuses for friendly
games and a fixed salary in the WNT CBAs actually paid the WNT more than
the combination of higher bonuses and no salaries in the MNT CBA. Dr. Cook
also finds that players who were not on the roster for games due to injury or
performance were better off under the WNT CBAs. 46

    Dr. Cook’s damages framework provides an additional way to highlight the
insurance value of the WNT salaries. In particular, in Exhibit 6, I analyze how
the MNT would have been paid under the current WNT CBA since its inception
in 2017, using Dr. Cook’s own methodology. This exercise helps highlight the
insurance value of the WNT CBAs because the MNT performance level during
this period was lower than it had been in previous World Cup cycles—i.e., they

45 See McCrary Report, Exhibit 2.

46 Dr. Cook’s analysis of individual players also finds that some WNT players who played in fewer games during

the class periods due to injury or performance would have been better off under the WNT CBAs than the MNT
CBA because of the insurance value that the WNT salary provides. Cook Report, ¶ 72.ii.


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did not qualify for the World Cup, and thus lost out on all bonuses for World
Cup play.

    Exhibit 6 displays the results of this analysis. The first column displays
what a MNT player would have made had he participated in all of the MNT
matches from 2017–2019. This represents the maximum total pay an MNT
player could have earned from matches during this period under the MNT CBA.
Specifically, he would have earned $446,688 from the 48 friendly, World Cup
qualifier, and other tournament matches ($9,306 per game). 47 Had this player
been paid according to the current WNT CBA as a contracted player, he would
have been paid $491,082 for those same 48 ($10,231 per game). Thus, the pay
under the WNT CBA for MNT players during this period is more than the
maximum pay an MNT player could have earned under the MNT CBA.

EXHIBIT 6
A MNT player would have earned more under the current WNT CBA: 2017–2019




Source: Irwin Supplemental Report, Exhibit 12.B; 2011–2018 MNT CBA, USSF_Morgan_000530 – 78; 2017–2021 WNT CBA,
USSF_Morgan_000587 – 642 at 642; USSF_Morgan_070834; USSF_Morgan_055431; USSF_Morgan_055446; USMNT Results:
2015-2019, accessible at https://www.ussoccerhistory.org/usnt-results/usmnt-results/usmnt-results-2015/; 2017 USMNT Lineups,
accessible at https://www.ussoccer.com/usmnt-lineups/2017
Notes: Other tournaments include CONCACAF Cup, Gold Cup, Copa America, and Nations League. Following Dr. Cook’s
methodology, I assign the averge WNT non-World Cup tournament pay to the MNT non-World Cup tournament pay. The non-
World Cup pay is an average of SheBelieves Cup, the Olympic qualifying tournament, and the Olympic games. See backup for details
on these calculations.
[1] Mr. Pulisic was paid $2,802 less than the CBA terms dictated. See Irwin Supplemental Report, Exhibit 12.B. It is my
understanding that the payment of certain games, such as those played in October of 2019, were compensated differently from the
CBA terms because the team decided to split the payments evenly between the players in the roster and the players who attended
camp but were not in the roster. USSF_Morgan_055446.



   The pay advantage of the WNT CBA widens when we consider actual players
who did not in fact play in all games during this period. For example, the final
two columns repeat the same exercise for Christian Pulisic who has played in 23


47 To calculate what a MNT player would have earned in a non-World Cup tournament, I follow Dr. Cook and

apply the average payments for WNT non-World Cup tournaments, including a friendly tournament (such as the
She Believes Cup or the Four Nations Tournament), Olympic qualifiers, and the Olympics.



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MNT games since 2017. 48 The results are similar for Christian Pulisic;
according to the MNT CBA, he earned a total of $220,000, or $9,565 per
game. 49 Had he been paid according to the WNT CBA as a contracted player, he
would have earned $380,999, or $16,565 per game.

    In addition to highlighting the insurance value of the WNT contract, the
analysis in Exhibit 6 also highlights a broader methodological flaw in Dr. Cook’s
approach to damages. In her analysis, Dr. Cook assumes that any difference in
pay between the MNT and WNT for a given level of performance is caused by
discrimination. If one applies Dr. Cook’s approach to Exhibit 6, the appropriate
conclusion would be that the MNT CBA discriminates against men because it
pays the MNT less than the WNT for its performance over the past three years.
In other words, USSF is somehow discriminating against men and women at
the same time. A more reasonable interpretation of the result is that the two
teams’ CBAs present different tradeoffs and, depending on the performance of
any given player, either can lead to higher pay.




48 Mr. Pulisic is a prominent MNT player, having won USSF’s Male Player of the Year award in both 2017 and

2019, becoming the youngest player to win multiple Male Player of the Year awards. Pulisic voted as 2019 U.S.
Soccer Male Player of the Year, accessible at https://www.ussoccer.com/stories/2019/12/pulisic-voted-as-2019-
us-soccer-male-player-of-the-year.
49 Mr. Pulisic was paid $2,802 less than the CBA terms dictated. See Irwin Supplemental Report, Exhibit 12.B. It

is my understanding that the payment of certain games, such as those played in October of 2019, were
compensated differently from the CBA terms because the team decided to split the payments evenly between the
players in the roster and the players who attended camp but were not in the roster. USSF_Morgan_055446.


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5. CONCLUSION

    The analyses presented above demonstrate that Dr. Cook’s damages
analysis is fundamentally flawed. As detailed in my first report, the WNT and
MNT CBAs differ on a variety of dimensions that present different economic
tradeoffs. These differences between the CBAs need to be accounted for when
determining if the WNT CBAs pay players systematically less than the MNT for
a given level of performance. Dr. Cook does not attempt to account for any of
these differences.

    As shown in Section 3 above, the differences in performance bonuses
between the WNT and MNT CBAs that Dr. Cook treats as “damages” can be
explained by differences in prize money paid to USSF across World Cup and
non-World Cup tournaments. Once prize money is accounted for, I have shown
that the terms of the WNT CBAs pay the WNT a higher fraction of the prize
money for a given level of performance than the terms of the MNT CBA.
Additionally, I highlight the fact that Dr. Cook’s own analysis shows that, on all
other payment terms outside of the bonuses for World Cup and non-World Cup
tournaments, the WNT CBAs actually pays the women more than the MNT CBA
would. This result reinforces the analysis in my first report. While the MNT has
higher bonuses for non-tournament games (i.e., friendlies), the salary paid to
WNT more than offsets this bonus.

    Furthermore, I showed that the WNT CBAs have an additional benefit of
limiting risk. The WNT CBAs have fixed payments, which ensures that players
will be paid even if their performance is not as expected. For example, I show
that MNT players would have in fact been paid more under the WNT CBA than
their own CBA since the current WNT CBA took effect.

    For these reasons, I find that the available evidence does not support
Plaintiffs’ claim that differences in the WNT CBAs and MNT CBA reflect gender
discrimination, rather than legitimate economic factors.




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6. RESPONSE TO PLAINTIFFS’ MOTION TO EXCLUDE PORTIONS OF MY INITIAL
REPORT

    I understand that Plaintiffs filed a motion to exclude certain opinions in my
first report. In this section, I respond to Plaintiffs’ claims in that motion. As I
show below, Plaintiffs have misrepresented both the content of my opinions
and the relevance of my analysis for the issues in the case. As detailed
throughout my initial report and in this report, in order to assess Plaintiffs’
claim that the MNT CBA pays more than the WNT CBAs, it is necessary to
analyze the different economic tradeoffs and benefits across the different
clauses in the men’s and women’s CBAs. Below I explain how Plaintiffs’ claims
in their motion to exclude misrepresent my opinions on these topics.

   In Plaintiffs’ motion to exclude they assert the following with regard to my
opinion:

        McCrary offers the unsupported opinion that when one group of
        employees has one mix of base compensation and bonus compensation,
        and another group of employees has a different mix of base
        compensation and bonuses compensation, there is no way to determine
        if the compensation schemes are discriminatory because of the different
        ‘risks’ presented. 50

    This assertion is incorrect and baseless. I did not express any such opinion
in my first report, nor do I believe such an opinion to be true. In fact, as I
explain below, my view is that it is possible to determine if a compensation
scheme is discriminatory, on the basis of gender or otherwise, even if
compensation for risk is present.

    However, in this matter, and as I have explained throughout both of my
reports, the WNT and MNT CBAs include very complex compensation
arrangements, with varying levels of base compensation and bonuses across
and between the teams. This means that to determine whether the two CBAs
are consistent with discrimination in pay, one needs a methodology that puts
the varying components of compensation in the contracts on the same scale. In
my first report, I conveyed this opinion as follows:


50 Plaintiffs’ Notice of Motion and Motion to Exclude Defendant’s Expert Testimony; Memorandum of Points &

Authorities in Support, Alex Morgan, et al. v. United States Soccer Federation, Inc., February 20, 2020 (“Motion
to Exclude”), p. 14.


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         Assessing whether the total compensation is higher for any given player
         over a given set of games under a given CBA relative to another requires
         (a) accounting for the tradeoffs of all relevant components of pay and (b)
         accounting for the risk (or uncertainty) in compensation that arises from
         performance clauses. 51

    In my initial report, I also expanded upon those general principles and
provided concrete examples. My initial report demonstrated that, for specific
examples of performance, the CBAs for the WNT compensate players at a
higher rate than for the MNT, and for other examples of performance, the
opposite was true. 52 Based on these facts and analyses, the opinion I offered in
my first report (which I further corroborate in this report) is that the MNT CBA
is not systematically better than the WNT CBAs for a given level of
performance. The fundamental reason why gender differences in compensation
can switch from positive to negative is that the CBAs present different tradeoffs
over fixed payments and bonuses.

    Indeed, as I have discussed above, the analysis of Dr. Cook (Plaintiffs’ own
expert) confirms my opinion. Dr. Cook finds no damages for friendly games
because the salary and other fixed payments in the WNT CBAs more than offset
the fact that the WNT receives lower bonuses on friendly games than the MNT.
This result highlights the fact that the fixed payments in the WNT CBAs can
make it a more favorable contract than the MNT CBA, depending on
circumstances that cannot be known when the contracts are negotiated.

    Importantly, counter to Plaintiffs’ claims, my opinion in no way implies that
discrimination cannot occur when two groups of people are paid using different
contracts. Indeed, in their motion to exclude, Plaintiffs present an example
where I agree discrimination may have occurred. Specifically, they consider an
example of a firm that pays men 25% commission and a $5,000 base salary and
pays women 5% commission and a $10,000 base salary. They then point out
that if a woman generates $4 million in sales she would receive $210,000, while
a male who sold $4 million would earn $1 million total. The motion to exclude
concludes, “Dr. McCrary would opine you cannot determine if discrimination
exists in this scenario because the woman had a larger base salary and thus

51 McCrary Report, ¶ 12.

52 McCrary Report, ¶ 12 (“In a variety of scenarios that occurred under each CBA during the class periods, the

value of the fixed payments that the WNT players receives would more than offset the larger variable
performance pay that the MNT players may receive.”).



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incurred less ‘risk.’” 53 This statement again misrepresents my views. There
could well be scenarios where I believed the broader context warranted a
conclusion that there was discrimination. For example, if it were known at the
time of contracting that sales for both men and women were going to be $4
million and there were no other relevant factors affecting pay, then it is obvious
that the contract would entail women being compensated less than men.

    There could also be scenarios where I believed the broader context meant a
conclusion of discrimination was not supportable. That is the conclusion I have
reached regarding this matter. What I show in both this report and my prior
report—and what Dr. Cook’s own analysis confirms—is that (1) the MNT and
WNT generate different levels of revenue for a given level of performance, (2)
there is uncertainty in performance at the time CBAs are negotiated, (3) the
CBAs expose the MNT and WNT to different levels of risk, and (4) different
players play in different amounts of games, such that salary becomes a more
important component of pay. These factors are precisely why it is important to
analyze the different tradeoffs between salary and bonus in the WNT and MNT
CBAs. 54

    Finally, it is notable that, in calling my analysis “junk science,” Plaintiffs do
not cite to any scientific treatise, article, or textbook that challenges the
economic principles I rely on. I have cited to both textbooks and scholarly
research that lay out the basic economic principles that underlie the use of
performance contracts and the tradeoffs that different performance contracts
present to different employees. These are basic and widely accepted principles
in economics.




______________________
Justin McCrary
March 6, 2020


53 Motion to Exclude, p. 16.

54 Plaintiffs also assert the following in their motion to exclude: “There is no case that has ever accepted Dr.

McCrary’s view that it is impossible to determine if there was discrimination when different combinations of
compensation terms are employed.” Motion to Exclude, p. 15. This claim, again, is a red herring because, as
explained above, I did not express an opinion in my report that it is impossible to determine if there was
discrimination when different combinations of compensation terms. In fact, I disagree with that opinion.


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7. APPENDIX A – CURRICULUM VITAE




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8. APPENDIX B – DOCUMENTS RELIED UPON

Document Title                                                                     Document Date
Record Documents
USSF_Morgan_000530 – 78                                                            2011 – 2018
USSF_Morgan_000321 – 46                                                            March 31, 2017 and
                                                                                   2016
USSF_Morgan_000587 – 642                                                           2017 – 2021
USSF_Morgan_005638 – 777                                                           November 30, 2015
                                                                                   – April 2, 2017
USSF_Morgan_007836 – 9                                                             December 17, 2013
USSF_Morgan_007840                                                                 January 7, 2015
USSF_Morgan_007841 – 2                                                             January 25, 2019
USSF_Morgan_042076 – 96                                                            March 31, 2019 and
                                                                                   2018
USSF_Morgan_042341 – 2                                                             May 13, 2016
USSF_Morgan_042343 – 4                                                             July 6, 2015
USSF_Morgan_042345 – 6                                                             September 27, 2017
USSF_Morgan_055446                                                                 October 20, 2019
USSF_Morgan_070834
USSF_Morgan_070835
USSF_Morgan_081431 – 5                                                             May 9, 2019
WNTPA_00000456 – 64                                                                February 8, 2017
WNTPA_00004575 – 83                                                                2013 – 2016


Expert Reports
Expert Report of Carlyn Irwin, MBA, CPA/CFF/ABV/CEIV, CFE                          February 4, 2020
Expert Report of Finnie B. Cook, Ph.D.                                             February 4, 2020
Expert Report of Justin McCrary, Ph.D.                                             February 4, 2020
Supplemental Expert Report of Carlyn Irwin, MBA, CPA/CFF/ABV/CEIV, CFE             March 6, 2020


Legal Pleadings
Plaintiffs’ Notice of Motion and Motion to Exclude Defendant’s Expert              February 20, 2020
Testimony; Memorandum of Points & Authorities in Support, Alex Morgan, et
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Academic Articles
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“Gender Wage Disparities among the Highly Educated.” The Journal of
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Document Title                                                                      Document Date
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Economic Damages.” In Reference Manual on Scientific Evidence, 3rd Edition.
The National Academies Press, Washington, DC: 425–502
Besanko, D., Dranove, D., Shanley, M., and Schaefer, S. Economics of Strategy,      2010
5th Edition. John Wiley & Sons, Hoboken, NJ
Borjas, G. Labor Economics, 7th Edition. McGraw-Hill Education, New York,           2016
NY
Rubinfeld, D. L. “Reference Guide on Multiple Regression.” In Reference             2011
Manual on Scientific Evidence, 3rd Edition. The National Academies Press,
Washington, DC: 303–357


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FIFA Council confirms contributions for FIFA World Cup participants,                October 27, 2017
accessible at https://www.fifa.com/about-fifa/who-we-are/news/fifa-council-
confirms-contributions-for-fifa-world-cup-participants-2917806
Pulisic voted as 2019 U.S. Soccer Male Player of the Year, accessible at            December 12, 2019
https://www.ussoccer.com/stories/2019/12/pulisic-voted-as-2019-us-soccer-
male-player-of-the-year
USD 20 million in prize money for FIFA Confederations Cup, accessible at            November 25, 2016
https://www.fifa.com/confederationscup/news/y=2016/m=11/news=usd-20-
million-in-prize-money-for-fifa-confederations-cup-teams-2855001.html


Other Sources
2017 USMNT Lineups, accessible at https://www.ussoccer.com/usmnt-                   2017
lineups/2017
USMNT Results: 2015-2019, available at                                              2015 – 2019
https://www.ussoccerhistory.org/usnt-results/usmnt-results/usmnt-results-
2015/


Note: In addition to the documents on this list, I relied upon all documents
cited in my report and my exhibits, as well as those cited in my Initial
Report and exhibits to my Initial Report, to form my opinions.




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